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                                   GREGORY H. WOODS
                                  United States District Judge
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